     Case 2:10-cr-00007-JMS-CMM                           Document 1453                Filed 10/21/15         Page 1 of 2 PageID #:
                                                                10788
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                        Randolph Carr, Jr.                                 )
                                                                           )    Case No: 2:10CR00007-021
                                                                           )    USM No: 59208-112
Date of Original Judgment:                            02/09/2011           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Carr was sentenced pursuant to a binding Plea Agreement that was not based on sentencing guideline
    calculations. In addition, because of his status as a Career Offender, the changes to the Drug Quantity Table
    did not reduce his total offense level. Thus, Mr. Carr is not eligible for a sentence reduction pursuant to
    Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:            10/21/2015
                                                                                  ________________________________
                                                                                  LARRY J. McKINNEY, JUDGE
Effective Date:                                                                   United States District Court
                     (if different from order date)
                                                                                  Southern District of Indiana
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                                   10789



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